                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DIVISION
                                No. 5:19-CV-00475-BO

 Jason Williams,

                       Plaintiff,

 v.                                                                    Order

 AT&T Mobility,

                       Defendant.


       Defendant AT&T Mobility LLC has asked the court to enforce subpoenas it issued to

Anexio Data Centers, LLC; Anexio Managed Services, LLC; and Anexio, Inc. (collectively the

Anexio Entities). The Anexio Entities have not responded to the Motion.

       Having reviewed the Motion, the court will grant it in part and deny it in part. The court

orders that the Anexio Entities must:

       1.      Within seven days of entry of this Order, designate in writing to AT&T’s counsel

               a representative or representatives to testify regarding the examination topics set

               forth in Exhibit A to the subpoena, and identify the topic(s) that each designee

               will be prepared to cover;

       2.      Ensure each designee is able to testify as to information known or reasonably

               available to the Anexio Entities within his or her designated topic(s);

       3.      Make the designees available for deposition at a date to be scheduled with AT&T,

               but in no event later than 30 days after entry of this Order; and




            Case 5:19-cv-00475-BO Document 88 Filed 10/12/21 Page 1 of 2
          4.      Produce to AT&T’s counsel the documents in their possession, custody, or

                  control that are described in Exhibit B to the subpoenas at least five business days

                  prior to the scheduled deposition;

          5.      Pursuant to Rule 37(a)(5), the Anexio Entities, jointly and severally, shall

                  reimburse AT&T for its reasonable attorneys’ fees and costs incurred in bringing

                  the Motion. AT&T shall submit a statement of such costs and fees to the Court no

                  later than seven days after entry of this order.

          6.      The Clerk of Court shall serve this order on the Anexio Entities by certified mail,

                  return receipt requested at the addresses listed in DE. 81, 82, and 83.

          7.      AT&T’s counsel shall email a copy of this order to any individuals it has been in

                  contact with at the Anexio Entities.

          The court cautions the Anexio Entities that if they fail to comply with this order, the court

may find them to be in contempt. A contempt finding may result in the imposition of fines or an

order for the arrest and imprisonment of one or more individuals associated with the offending

entity.

Dated:
Dated: October 12, 2021

                                                 ______________________________________
                                                 Robert
                                                 R OBERTT.T.Numbers,
                                                             NUMBERSII, II
                                                 United States
                                                 UNITED STATES Magistrate
                                                                MAGISTRATE Judge
                                                                               JUDGE




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               Case 5:19-cv-00475-BO Document 88 Filed 10/12/21 Page 2 of 2
